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                        UNITED STATES DISTRICT COURT

                       WESTERN DISTRICT OF LOUISIANA

                               SHREVEPORT DIVISION


 UNITED STATES OF AMERICA               *      CRIMINAL NO: 18-00252-01-03
                                        *
 VERSUS                                 *
                                        *
 BRANT R. LANDRY (01),                  *      JUDGE FOOTE
 MIKE MOSURA (02), and,                 *
 JULIE LANDRY (03)                      *      MAGISTRATE JUDGE HORNSBY


                          GOVERNMENT=S VOIR DIRE

       NOW INTO COURT, through the undersigned Assistant United States

 Attorney, comes the United States of America, which respectfully requests that in

 addition to the standard voir dire used by the Court, the following non-standard voir

 dire be included:

       1. Do you have any belief or opinion on the subject of firearms or the laws that

          govern firearms that could affect the way you think about this case?

       2. Do you believe it is proper for the Government to regulate the types of

          firearms a person can lawfully possess?

       3. Do you believe that federal laws regulating the possession of firearms are

          too strict? Too lenient?

       4. Have you, a close family member, or friend, been affected directly or

          indirectly by addiction to anabolic steroids?

       5. Do you oppose certain federal laws that prohibit or regulate the possession

          and/or distribution of certain drugs or controlled substances, in particular

          anabolic steroids?
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       6. Is there anything in your background or experience that would cause you

          to view the United States Government unfavorably?

       7. Potential witnesses in this case are employed by the Drug Enforcement

          Administration and the Bossier Parish Sheriff’s Department.    Do you have

          any strong personal feelings for or against those agencies for any reason?

       8. Would you require the Government to prove guilt beyond any doubt?

       The Government respectfully requests the opportunity to file additional voir

 dire questions should they become necessary.

                                       Respectfully submitted,

                                       DAVID C. JOSEPH
                                       UNITED STATES ATTORNEY


                                 By:   /s/ Earl M. Campbell
                                       Earl M. Campbell (LA Bar #25957)
                                       Assistant United States Attorney
                                       300 Fannin Street, Suite 3201
                                       Shreveport, LA 71101
                                       Phone: (318) 676-3600




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